USCA4 Appeal: 23-1059         Doc: 58           Filed: 03/28/2023      Pg: 1 of 1
                          FOURTH CIRCUIT ORAL ARGUMENT ACKNOWLEDGMENT

  This Oral Argument Acknowledgment form is to be completed and filed by arguing counsel within 7 days of
  the Oral Argument Notification. In criminal cases, counsel appearing for a defendant but not arguing must also
  file this form.
  Case Number: 23-1059                                Date of Oral Argument: 06/06/23
  Caption: South Carolina State Ports Authority v. National Labor Relations Board
  Attorney Arguing: Heather Beard
  Arguing on Behalf of (party name):
   National Labor Relations Board
  Select party type:
      Appellant ✔ Appellee         Appellant/Cross-Appellee    Appellee/Cross-Appellant       Amicus       Intervenor

  Attorney Appearing for Defendant but Not Arguing in Consolidated Criminal Case:

  Argument Time: Please indicate how much argument time you wish to use. You may thereafter change your
  requested time or change counsel arguing by filing a new Oral argument acknowledgment form and selecting
  “Amended” within the entry. Counsel arguing the case must be admitted to the Fourth Circuit, file an
  appearance of counsel form, and file this acknowledgment form.
     →20 minutes of argument time are allotted per side; all parties to a side must share oral argument time
     →15 rather than 20 minutes are allotted in social security, black lung & labor cases in which primary issue
        is whether substantial evidence supports agency decision, and in criminal cases in which primary issue is
        application of sentencing guidelines; 30 minutes are allotted in en banc cases
     →Appellants and cross-appellants may reserve up to 1/3 of their time for rebuttal (7 out of 20 minutes)

  First Attorney Arguing Per Side: Heather Beard
  Phone Number (day of argument): 703-371-3033

  Principal Argument Time:       15                               Rebuttal Argument Time (if any):
  (for appellants and appellees)                                  (appellants and cross-appellants only)

  Any Second Attorney Sharing Arguing Time: John Sheridan
  Phone Number (day of argument): 201-988-8034

  Principal Argument Time:          5                              Rebuttal Argument Time (if any):
  (for appellants and appellees)                                  (appellants and cross-appellants only)

  Any Counsel for Amicus Participating in Argument by Leave of Court:

  Phone Number (day of argument):

  Argument Time:                                Select one of the following:    Order allowing argument time
                                                                                Court-Appointed Amicus


  Signature: /s/Heather Beard                                  Date: 03/28/23




  03/08/2022 SCC                                                           Print to PDF for Filing     Reset Form
